                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK



UNITED STATES of AMERICA,
                    Plaintiff                                SENTENCING MEMORANDUM

               V.                                            04-CR-402
                                                             TJM
YASSIN AREF,
                              Defendant



                      YASSIN AREF’S HISTORY AND CHARACTER

Brief Background

       Yassin Aref is a refugee from Iraqi Kurdistan - his village, Hashazini, was completely

destroyed by Saddam Hussein’s Army in 1988. Mr. Aref, 36, came to the United States in 1999

with his wife, Zuhur, and three young children, after having lived in Syria for several years under

a United Nations refugee program. Already a scholar, poet and imam in Iraq, not long after

arriving in Albany, Mr. Aref became the imam of a newly formed mosque here.

       Yassin Aref is an extremely sincere and honest man devoted to his religion and his

family. He is also inquisitive, scholarly and poetic, soaking up knowledge and poetry and using

them to teach others to live in a positive manner.

       Mr. Aref is completely committed to following the laws of this country, and always was,

from the first day he set foot on American soil. This commitment, in addition to having been

captured in a government recording (see Mr. Aref’s Rule 29 Memorandum, at 17), is reflected in

many letters from those who know him, including that of Dr. Shamshad Ahmad, the President of

the Masjid-As-Salam Mosque, who wrote:
               “...I can say that Yassin had more personal contact with me than with any other
       single individual while staying in Albany. I, therefore, think that I have been able to
       understand him, his personality, and his thought process extremely well. I was at odds
       with him and in disagreement on many aspects of life including several religious
       interpretations as well as the mechanisms of running the mosque. But we had a total
       agreement that respecting the law of the land and that its obedience is an integral part of
       our religion, and acts of terrorism in any shape or form are against it. ...” (Letter from
       Dr. Ahmad, attached as Exhibit “A,” at 1, emphasis supplied)

       Similarly, another member of the Mosque, Rashid Abdulhaqq Hamsa, stated:

              “...Imam Yassin taught this community to respect the laws of this country and
       always be truthful in our dealings in all mutual transactions with everyone we deal with,
       Muslim or non-Muslim..” (Letter from Rashid Abdulhaqq Hamza, Exhibit “A,” at 22)

Imam

       When Yassin Aref came to Albany in October, 1999, he very quickly started volunteering

his time to renovate the building where the Masjid-As-Salam Mosque was being established. Dr.

Ahmad, among other points he made in his letter to the Court, described how hard Yassin

worked - Dr. Ahmad stated:

               “In 1999, I founded Masjid As-Salam, a mosque on Central Avenue in Albany,
       and have since been its president and in charge of its overall affairs. Mr. Yassin Aref
       arrived in Albany around the same time the mosque was being established and its
       building was being renovated. He joined me in this effort from the first day and
       participated physically with total devotion and commitment ... all voluntarily. ...[H]e
       spent long hours with me, each and every day without interruption for eight consecutive
       months....” (Letter from Dr. Ahmad, attached as Exhibit “A,” at 1)

       In August, 2000 Yassin Aref became the Imam of that Mosque. As such he led prayers

five times each day and gave a sermon every Friday. Another part of his duties was counseling

the members of the mosque. Dr. Ahmad described these duties and pointed out the incredible

devotion Yassin showed toward the members, who miss him greatly. Dr. Ahmad stated:

              “...Eventually he was appointed the Imam of this mosque in August, 2000. Since
       then he spent literally all his time in the mosque conducting five daily prayers, giving
       sermons, counseling the members and interacting with me in administering the mosque


                                               -2-
       and handling the affairs of the Muslim community.... His care, concern, and generosity
       for the members of the Muslim community were enormous so much that many times I
       considered it excessive....” (Exhibit “A,” at 2)

       Yassin also taught Arabic and religious studies to a variety of students. One of those

students, Salih Abdullah, wrote that the Imam had a major positive effect on his life, stating:

               “...One of the first people I met while at the masjid was Imam Yasin. His presence
       was the first thing that impressed me. His humility and character was something rarely
       seen in individuals. I began attending the masjid more often and became closer to him
       [taking] from the vast amount of knowledge he possessed and good character he
       embodied. I was immediately touched by his sincerity and his balanced leadership.
       Through his presence I began to love Islam and practice it faithfully. He advised me to
       continue to study Islam and strengthen my ties with my family whom I was having
       problems with during that time, both of which have improved significantly. ...” (Letter
       from Salih Abdullah, Exhibit “A,” at 9)

       Another member of the mosque, Rahsid Abdulhaqq Hamza, similarly wrote:

               “ Imam Yassin taught me the Qur’an is not something just to recite beautifully,
       but is a Guide given to us by our CREATOR to be implemented into our daily lives. .”
       (Letter from Rashid Abdulhaqq Hamza, Exhibit “A,” at 22)

        While the Mosque President and a few of the members did write letters, others,

especially immigrants, wanted to write but were too afraid that there might be repercussions from

the government if they expressed their support for their Imam. (However, many of them did sign

the petition which is discussed below.) This fear was mentioned by Times Union columnist Fred

Lebrun, who stated in a recent column:

               “...Well, according to the Muslim Solidarity Committee, a local support group for
       Aref and Hossain, the government has been dazzlingly successful in spreading fear and
       distrust in the local immigrant Muslim community. However, that would be a fear of the
       FBI and our government. ...” (January 16, 2007 Times Union Column, attached as Exhibit
       “D,” at 1-2)

       Cathy Callan, a non-Muslim, wrote:

              “As a non-Muslim member of the greater Albany community, I have come to
       know many of the members of the Masjid Assalam Mosque... In getting to know this
       group of good, honest and humble people, I have come to realize how much Imam Aref is

                                                -3-
        missed at the mosque. In conversations with some of these folk, Imam Aref’s name
        comes up regularly as an important member who offered wisdom, comfort and support to
        anyone who came to him. ...” (Letter from Cathy Callan, Exhibit “A,” at 16)

Reputation for Honesty and Courage

        Yassin Aref has a well-deserved reputation for a very uncommon honesty, integrity and

courage. This is not only reflected in the many letters of support for him, but is also shown in the

government recordings and in Mr. Aref’s trial testimony. As an example, when Malik asked

Mohammed Hossain about whether Mr. Aref would make a good witness for the loan, Mr.

Hossain said, “he’s a very trustworthy person,” “He speaks the truth, always keeps his word,”

and “He’s not afraid of anything. He’s only afraid of God.” (December 5, 2003 Transcript, Page

12, lines 11, 17, 19.)

        These traits of Yassin Aref were also shown at the trial. First, when Halabja survivor

witness Mohammed Aziz seemed to have some difficulty identifying Yassin, Yassin simply

stood and waved. Later, when Yassin was on the stand, he refused to follow the generally

accepted fiction of “refreshing” his memory with a document when there is no actual memory of

the relevant details. He insisted that he did not remember certain statements, but was relying only

on the transcript. (Trial Transcript, at 1574) Similarly, after hearing Kassim Shaar testify that

Yassin had searched Malik for a recording device on February 12, Yassin insisted that while he

did search Malik, that happened on a different day. There was absolutely no reason for Yassin to

say that, other than that he believed it was the truth.

        In addition, Yassin Aref is in the process of writing a memoir about his life in Kurdistan,

which is excerpted as Exhibit “B.”1 Jeanne Finley is working to edit that manuscript, and she



        1
            Exhibit “B” is being filed under seal as it contains copyrighted material.

                                                            -4-
wrote a letter to the Court stating:

                  “...In my years of editing both fiction and non-fiction manuscripts, I have never
         encountered a voice like Mr. Aref’s - a moral and just voice incapable of telling a lie, in
         both the literary and literal sense, a voice that cannot help but speak the truth because that
         is the guiding principle of the real man behind the voice.” (Letter from Jeanne Finley,
         attached as Exhibit “A,” at 5)

His Family

         Yassin Aref is married and has four children, Alaa, 11, Raiber2, 9, Kocher, 8, and Dilnia,

one. Yassin married his wife, Zuhur, while they were still in Kurdistan, but soon afterwards, they

emigrated to Syria because Kurdistan was in ruins, infighting between various Kurdish

independence groups abounded, and they thought their only hope for a brighter future lay

elsewhere.



      Yassin and
      Zuhur’s
      children,
      from left,
      Alaa
      (holding
      Dilnia),
      Raiber and
      Kocher.
      Photo taken
      by Dave
      Capone and
      exhibited by
      unseen-
      america




         2
           Because under Saddam Hussein, the use of Kurdish names was prohibited, it is traditional for Iraqi Kurdish
children to have two first names, an at-times secret Kurdish name, and an Arabic name. The names used herein are
the children’s Kurdish names, but they also have Arabic names, which are used at times, such as in the attached letter
from Maribeth Lynn, who uses the Arabic names for Raiber and Kocher. (Even though it is no longer necessary, the
tradition continues, in order to respect both the Kurdish and Islamic traditions.)

                                                         -5-
       Zuhur, who had already been traumatized by life in Kurdistan, including having to flee

the Iraqi Army in 1991, followed by life as a refugee with two young children in Syria, was

trying to find stability and security for her family in Albany, New York. Unfortunately, the sting

operation intervened, and since Yassin’s arrest in August, 2004, Zuhur has been quite depressed

and more traumatized than ever. Then, in September 2005, when she was approximately six

months pregnant with Dilnia, Yassin’s bail was revoked and he has been incarcerated ever since,

making Zuhur’s situation even worse. One fortunate thing has been the constant support for the

family from the Masjid As-Salam Mosque. Since their Imam, Yassin, was taken from them, the

Mosque community has been taking care of his family, both financially and also by attending to

the day-to-day needs of the children, such as transportation to and from school, etc.

       In her letter to the Court, Cathy Callan writes:

                “... I have come to know [Yassin’s] family: Wife Zohour and four, rambunctious,
       fully Amercianized children, and see with dismay and sorrow the damage this entire affair
       has brought on this young family. Imagine, a young man, his wife and (at the time) three
       children fleeing the hardships and threats of their own native land, being taken in, with
       open arms mind you, by the land of the free and feeling that they can finally let go of their
       fears of imprisonment, torture and death, only to be singled out by our government and
       being flung blindly back into that dehumanizing state once again. Zuhour is not well; this
       entire episode has left her barely able to take care of her own family. She is fortunate only
       in that she has the mosque family to look after her and her children. Her children do not
       understand why their father is in prison, nor do they fully understand that he will not be
       coming home any time soon. Each day brings this family closer to the brink of lost hope
       and despair. ...” (Letter attached as Exhibit “A,” at 16)

       Similarly, May Saffar, a fellow Iraqi who has known Yassin and Zuhur since shortly after

they arrived in Albany, writes:

                “...[A]s a mother of three, my heart aches every time I see Aref’s kids growing up
       away from their father. Aref is a very loving, caring and involved father. ... Zohour is still
       in a state of shock, extremely depressed. ...From my interaction with Aref’s children, I
       also realized how intelligent these kids are. They asked me to bring them a chess game,
       and books. ...Zohour is still traumatized from the impact of the maltreatment of Saddam
       to the Kurds in Iraq, and the way the FBI raided their residence when her husband Yasen

                                                -6-
       was arrested...” (Letter attached as Exhibit “A,” at 18-19)

       Both before his arrest, and while he was out on bail, Yassin divided his time between his

duties at the Mosque, and spending time with his family, often taking the children to the library

or for bike rides in Washington Park. The three older children miss him terribly and do not

understand what happened to take their father from them. Yassin learned to write English so that

he could correspond with them, but it is not the same as being with them. The baby, Dilnia, does

not even really know him, which pains Yassin greatly.

       During visits, Yassin always says that while he can handle incarceration himself, because

his spiritual practice gives him the support he needs, the thing that tears him apart is feeling that

he can do nothing to help his wife and children, that he is losing them, and cannot protect them

from whatever may come. In fact, one of the main reasons he is writing his book is so that, if he

does receive a lengthy sentence, at least the children can someday read the book to learn who

their father is and where he, and they, came from.

Yassin’s Writings

       Since he has been learning to write English, Yassin, always a prolific writer, has been

writing in his newest language, including his memoir, and various letters and poetry. Most of his

writings have been edited by Stephen Downs because Yassin’s English is still pretty rough.

Yassin’s sense of humor is shown in the following quote from the acknowledgment to his book:

               “... Mr. Steve used to complain that I had a habit of never spelling words in the
       same way twice. I insisted that I was very consistent in spelling - I always spelled words
       phonetically but the problem was I did not always pronounce them the same way twice.
       In this way we learned to adapt to each others styles and the work progressed.” (Excerpts
       from Yassin’s manuscript attached as Exhibit “B,” at 2)




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       Manuscript on Yassin’s Life in Kurdistan

               “How Shall I Live Now”

       As Yassin’s editor, Jeanne Finley put it:

               “If there is a ‘theme’ to this book, it is that of the individual asking, ‘How shall I
       live now?’ ...[T]his man not only lives by moral principles, but has the strength of
       character and the ability to guide others to adhere to these principles as well....” (Letter
       attached as Exhibit “A,” at 5)

       It is one thing to ask that question, “how shall I live,” in a moral sense, when one is living

in relative comfort; it is quite another to live under a brutal dictatorship at times fleeing for your

life, and still and always ask that question. Such is the character of Yassin Aref, and that comes

through loud and clear from his manuscript.

                Preface - Speaking Truth to Power

       In the Preface, Yassin Aref talks about how life in the East often moves from one disaster

to the next brought about by “ignorant dictators and bloody leaders.” He then speaks of the need

to tell the truth about such things, saying:

               “The only way to change this situation and stop the corruption and ignorance, is
       for scholars to speak out, to tell the truth, and to never blindly approve what the rulers do.
       As Imam Ahmad said, “If scholars don’t speak the truth, and people don’t know it, how
       with the truth come out?” The Prophet Mohammad, may peace be upon him, said, “The
       best jihad is to say the truth to an unjust ruler”. Tell the truth to an unjust ruler; let him
       know ... how his unfairness causes his people to suffer; advise him and warn him about
       what disasters will flow if he does not stop the corruption and observe the law. ...”
       (Exhibit “B,” at 3)

               Chapter 1 - Kurdistan Under Saddam

       In Chapter One, Yassin says that Kurdistan has been in the midst of conflict and war for

his entire lifetime. In 1971, the year after his birth, Saddam began his campaign to remove the

Kurds from the oil-rich city of Kirkuk, and when the Kurds resisted, the battles went on until


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1991. Also, during the 1980s the war between Iran and Iraq went on and on, with both sides

attacking the Kurds. In 1988 there was the gas attack on Halabja, and the Anfal campaign, where

Saddam destroyed thousands of Kurdish villages, including Yassin’s. In 1991 Saddam was

driven out of much of Kurdistan but returned with a vengeance, forcing nearly the entire

population to flee into the mountains and into Iran. Later, Saddam was gone but Kurdistan was

left in ruins, and soon the various Kurdish groups began fighting among themselves.

              Chapters 2 & 3 - Family in Kurdistan

       Yassin wrote about his family in these two chapters, beginning with his grandfather,

Sheikh Aref, and his uncle, Sheikh SayGul, both of whom were famous imams. Regarding this,

Yassin simply said:

                “I have heard many stories about what these two Imams’ did and the miracles that
       seemed to accompany them, but because I cannot confirm the stories and I tend to believe
       that religious followers often exaggerate, I prefer not to mention these stories here.”
       (Exhibit “B,” at 7)

       Yassin Aref writes that his father, who was illiterate, taught him discipline and taught him

to pray by taking him to the mosque each day from the age of two. Yassin says:

               “..That was how I first learned to pray but eventually prayer became the most
       important thing in my life. Those of us in the East survive because of prayer and because
       of the peace and tranquility that it brings to our heart to balance the survival actions that
       our mind is always demanding. (Now living in solitary confinement 23 hours a day, the
       inner strength of prayer has literally saved my life.)..” Exhibit “B,” at 8)

       Regarding his mother, Yassin spoke of her hard work and suffering, both from her own

undiagnosed medical problems, and from her pain at the death of her two youngest children,

Salma and Jalal. Yassin said:

               “I learned obedience and endurance from my father, but I learned suffering and
       patience from my mother. Women in the East work very hard and get little for it except
       suffering. I could see it in my mother’s face. She did all of the housework, raised 5


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       children, helped my father on the farm, milked the cows and sheep, and received no credit
       for anything. On top of everything, she was sick for the entire time I knew her, and her
       sickness was never diagnosed or treated. There were no doctors in the region at that time.
       She complained of rheumatism, and headache, which was so bad that when she went to
       take water from the well she did not put the pail on her head like most women, but carried
       it on her shoulder. In 1979 her seven year old daughter died. In 1981 her 5 year old son
       died, and something inside her died with them. Her mind was never the same after that.
       Whenever I saw her, there was a tear in her eye, and sometimes she would grab me and
       hug me and kiss me and cry for my dead sister and brother.
               ***
               Since I was one of the youngest, I was often alone with my mother, and in her
       loneliness she would pour out her story to me, placing my head on her leg and talking for
       hours, followed by hours of silent crying. My mother was a source of kindness and love
       that balanced the hardness and discipline in my father. ...

               But strangely, my mother was an optimistic person. Her life had been nothing but
       hard work, problems, sadness, and abuse, and still she looked forward to a better future
       for her children - not for herself perhaps, but for her children. Now I see that she really
       only lived for us children. She took no pleasure for herself, and gave us everything that
       we needed first, before she took anything for herself. Since there was not enough to go
       around she was always shortchanging herself and so she became weaker and weaker.
       Now I feel guilty when I think of the number of times I was hungry and demanded food
       and she told me to take any food that I liked from her plate. But as a child, I did not
       understand that a person – a mother – would give up her life so that her children would
       live. I was so focused on surviving in the violence all around me that I did not understand
       that the person I loved most was slowly giving up her life for me.” Exhibit “B,” at 8 and
       10)

       Yassin also described how the family was left homeless when Saddam destroyed their

village in 1988, and how they all had to move into one room of a friend’s house, at a time when

Yassin’s father was becoming gravely ill. He then tells how they had to flee that refuge in 1991,

but that his father was too sick to travel to the mountains, so Yassin took him and a sister to a

cousin’s house in another city he thought would be safer. But the army went there too, and

Yassin’s sister and cousin had to flee, leaving the father behind. When they returned, they found

him dead. Yassin felt that he failed his father, and said:

              “...[W]hen my cousin was finally able to return she found my father dead in the
       house. I never found out when or how he died, but he was all alone when it happened


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       with no one to comfort him in his suffering, unless the army killed him. That would have
       been a mercy because if the army did not kill him he must have died of dehydration or
       starvation without any care at all even to clean himself. Till today I feel guilty for what
       happened. In all the land at that time there were thousands of deaths and each death was
       a tragedy, but this was my father and I owed him a special responsibility to protect him as
       he had always protected me. Instead, I failed him.” (Exhibit “B,” at 12)

       Yassin also told of his sisters and brothers, particularly his brothers Isaa and Ibrahim,

both of whom studied at the Health Institute in the city of Sulymania. In 1987 Ibrahim joined the

PUK (one of the Kurdish independence groups) and became a peshmerga doctor. The family had

no contact with him from 1987 until 1991, not even knowing if he was alive. Yassin said:

               “...In 1991, when the Kurdish uprising drove Saddam’s army temporarily out of
       Kurdistan, Ibrahim suddenly appeared one day, and we finally knew that he was safe. I
       was very proud of what Ibrahim did. The four years he lived with the peshmerga in the
       mountains and treated their wounds as their doctor, was the most dangerous and difficult
       period in the whole Kurdish revolution. I never believed that he was strong enough to do
       that.” (Exhibit “B,” at 13)

        Also described was Yassin’s brother Mohsin, to whom he is very close - Yassin wrote:

               “Mohsin was the only brother I really grew up with as a child. He was only one
       year older than I was and we did everything together. We were like twins. We cried
       together, laughed, ate, played, fought a lot, suffered and grew together, and shared the
       same parents, home and village. My father never called him Mohsin, but always called
       him “Mussa”, which means Moses.” (Exhibit “B,” at 14)

               Chapter 4

                       Iraqi Soldier

       Yassin tells several fascinating stories in this chapter, which show his strong belief in

cross-cultural understanding and interaction as a way to peace, even in the middle of a war zone.

There was an Iraqi army base up the hill from a tea shop where Yassin worked as a ten year old

boy. Yassin noticed that this one soldier would come into the shop and stare at him, making him

nervous. The soldier spoke only Arabic and Yassin at the time spoke only Kurdish. When Yassin



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asked his cousin (the shop owner) to find out why the man was staring at him, the soldier told

him that it was because Yassin looked exactly like his younger brother, whom he missed greatly.

Yassin said he could be his new brother, and he and the soldier, Raid, became good friends. Raid

would often bring Yassin canned army food, which he would then bring to his hungry family, and

also started teaching him Arabic. Yassin said:

               “...[T]they did move Raid from that base, but I kept him in my heart and mind.
       He was my first Arabic teacher and my best and first non-Kurdish friend. He really was
       like my brother in a way – always taking care of me, and always worried about me. I
       never found out what happened to him except that they moved him to a battle front in the
       Iran – Iraq war. I hope Raid is still alive, and if he is I am sure that he still has my picture
       with him. ” (Exhibit “B,” at 17)

                       Eclipse

       Another passage describes a lunar eclipse Yassin saw as a young child which terrified the

entire village, who had never heard of such things and believed that God was punishing people

for being sinful by destroying the world. Yassin and the others went to the mosque and prayed

and prayed until the moon re-emerged. (Exhibit “B,” at 19-20) This story, along with showing

the role of religion, shows how the people of Yassin’s village were largely separated from the

modern world, though unfortunately not separated from modern warfare.

                       Wounded Peshmerga

       There is also a story from1983 when there was nearby fighting between Saddam’s Army

and the peshmerga, and suddenly a group of peshmerga showed up at the house of Yassin’s

Uncle, Sheikh Abdul Qadrs, who was the village leader. Yassin, 13 at the time, describes how

the peshmerga asked Sheikh Abdul to help two of his wounded men. Sheikh Abdul brought the

wounded men to his basement and the others fled. Very soon Saddam’s Army arrived and

demanded to search the entire village. Sheikh Abdul invited them into his home, which they used


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as headquarters while they searched all the other houses. Then he convinced them to stay for a

barbecue, which took several hours to prepare. Yassin said:

               “...The two army commanders said that they would also like to see the mosque.
       The Iraqi army was told in training that the Kurdish people were wild barbarians and
       communists who could be killed without violating Islam because the Kurds were not real
       Muslims. ..
               ***
               The half hour that was needed to start the barbecue became three hours. The army
       commanders were surprised to see how many villagers were serving food to the Iraqi
       army soldiers and being very friendly with them. Everyone was joking and having a good
       time. Probably the commanders were beginning to feel some guilt for having shot at
       these same villagers from helicopters almost every day, and for believing that the
       villagers were hostile ignorant communists who just wanted to kill Iraqi soldiers. It was
       obvious that the villagers did not hate Arabs as they had been told. So why was the army
       attacking the villagers every day? The commanders had also probably been told that there
       were Iranian soldiers being hidden in the village, and yet this obviously was not true. ...
       Perhaps the commanders and their soldiers began to doubt the truth of the propaganda
       they had been given about the Kurds, and began to even doubt why they were fighting the
       Kurds.
               ...Before they left, the two army commanders gave [Yassin’s cousin] Samad and I
       their home addresses and promised to send us pictures back from Baghdad. So ended the
       great peshmerga raid. We really loved the two army commanders even as they loved us
       because we believed that after this day they would never again send their helicopters to
       bomb our village.
       ‘Maual Salama’, we told them, which is Arabic for ‘Peace be with you.’” (Exhibit “B,” at
       21-22)

                       Politics

       Near the end of Chapter Four Yassin describes how, while attending school in Sulymania,

he refused to join the Baath Party, thus risking expulsion or worse. But Yassin did not join any

other political group either, stating that he felt they were all corrupt and destructive. Yassin said:

               “How could I ever join the Baath party that every day killed so many Kurds and
       disrespected thousands more? But my answers to their questions were truthful – I did not
       like any other parties or politicians better. In my experience, politics has completely
       destroyed the Middle East and most Muslim people are victims of corrupt politicians.
       Most political groups switch every few years from Communist, to Nationalist, to Liberal,
       to Socialist, to Sunni, to Shiit. One day they work for Russia and the next day they work
       for America. They switch and then they fight one another even though they are all under


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       the same leadership. All of them claim they believe in Democracy but none of them had
       elected rulers and all claim to be the party of the majority. These corrupt, ineffectual,
       squabbling parties have cost us our liberty, and dignity – our childhood and education –
       our economy and jobs – our brotherhood and human relations – our health and future –
       our life and blood.” (Exhibit “B,” at 23-24)

               Chapter 5

                       Nawroz

       Nawroz is the Kurdish (and Persian) New Year, which occurs on March 21 (the spring

equinox). Saddam forbid the celebration of Nawroz, and thus the holiday became a symbol of

Kurdish independence, where Kurds would, if possible, light a bonfire on a mountain top and

sing patriotic songs. Yassin tells the story of how, at the age of 12, he traveled from Sulymania,

where surveillance prevented any open celebration, 100 miles by bus and foot, carrying an old

tire on his shoulder, back to his village where there was usually a traditional gathering. When he

finally arrived it was getting dark and there was thunderstorm. His mother told him there was no

celebration that year because of the weather. Yassin wrote:

                “I told her that I had to get to the top of the mountain to the festival. She told me
       that it was raining and that nobody was going to go. I begged her to please let me go
       before my father came home, because I knew that he would not let me go if he knew I had
       come back. At first she refused but eventually I wore her down and she agreed. Then I
       asked her for a bottle of gasoline. She knew why I needed it and so she just gave it to me.
       “I love you”, I told my mother and then I ran toward the mountain with my tire as fast as I
       could because I had less than an hour to sundown. I stopped at my friend’s house on the
       way, and he was very happy and surprised to see me, but I told him we have no time to
       talk now. Just tell all our friends that Yassin went to the mountains for Nawroz and that
       they should all come as soon as possible with fuel for the fire. It was still raining softly
       and I saw nobody else on the mountain.
                As I climbed the mountain in my mind I could hear my brother laughing at me,
       telling me that he had been right - that I could not make the top in time. I forced myself
       to go faster so that my brother would be wrong. I began singing, “Amrozi sali to zaya
       bahar hatawo” – “Today is the New Year – the spring has come back!”. When I reached
       the top of the mountain there was nobody around. I put my tire at the very top and poured
       gasoline on it in the rain. Then I lit the tire on fire, and watched as the little flame spread
       a protective wall of warmth and light a few feet around me. I heard two persons coming!


                                                -14-
       Thank God I was not going to be alone. Then I heard two more - and then more - five,
       six, ten. People began to come from everywhere and the rain stopped. The fire burned
       higher and brighter. Everyone had brought something with him – wood, paper, clothes –
       and one of my friends had brought a big tape recorder with Kurdish patriotic songs on it.
       We all talked excitedly together about how we could not believe that Nawroz would pass
       this year without a celebration. One of my friends said he cried for three hours until his
       mother pointed to the top of the mountain and said, “For heavens sake stop crying. You
       will have your Nawroz . Come look. The fire has started on the mountain.” Another
       friend told me he was very sad and said that if Yassin was here there would be Nawroz
       even if it was snowing. Last year it had rained hard - not like now - and Yassin had
       started the fire even then.
               Usually the Nawroz celebration takes one or two hours but this night nobody
       wanted to leave. We stayed on the mountain for three hours, even after our parents began
       calling us from the village to come down. It was one of the best nights of my life.”
       (Exhibit “B,” at 26)

                      Marxism and God

        Later in the chapter Yassin describes how his brother, Isaa, a Marxist, got Yassin to read

Marx, which left him unimpressed. He tells the story of an old illiterate man who thought he

believed in Marx until trapped by Saddam’s Army. Yassin said:

               “In our area was a very old man, named Haji, who was peshmerga. Usually the
       name Haji means someone who has made a pilgrimage to Mecca, and in his case he
       actually had made a Hajj, but afterward went with peshmerga, stopped praying and
       became interested in Communism, except that he was illiterate. He knew nothing about
       it. Everyone made jokes with him, and asked him why he did not pray. He replied, “I am
       Martilinism” which meant that he was a Marxist/Leninist, except that he could not
       pronounce the word. One day the army surrounded the village and blocked all the escape
       routes. They started to bomb the village with helicopters and rockets and the peshmerga
       were trapped inside.
       Haji asked his friend, “What shall we do?”
       “Nothing. We are peshmerga and we should be ready to die”.
       “Yes, but how can we get some help – who can save us”?
       “We fight till we die or we can escape”.
       “Before when I had any trouble I used to ask God to help me”, Haji said, “And I used to
       believe I got some support. Then you tell me that there is no God. So now who am I
       supposed to call on – Marts? (Marx) Marts!, Marts! Can you do anything for me? Can
       you hear me?
       “No! Marx died a long time ago”.
       “Listen. Lets go back to praying to God. Only he can save us”. And since that time, Haji
       started praying again.” (Exhibit “B,” at 28-29)


                                               -15-
       Yassin also read many other philosophers, and the question, for him and his friends, was

always how could the Kurds get their freedom - through Marxism, Islam or something else...

Yassin said:

               “I had many dialogues with peshmerga about Marx sometimes even for the whole
       night. And in school and in Chamchamal we discuss this all the time. The issue was
       whether the Kurdish liberation would come through a nationalistic movement like KDP,
       or through a Communist/Marxist revolution, or through Islam. Which one of these
       ideologies would spark the Kurdish revolution that would lead to freedom? The question
       was literally a matter of life and death. Pamphlets were written, books published, debates
       argued, all on this issue, each one responding to someone else’s arguments. I read as
       much as I could to prepare myself for this debate and took many notes. My sister thought
       that I was insane. Some times I stayed up the whole night reading a book and trying to
       understand the problem. Some books I read 10 times. We became very familiar with
       what Marx, Lenin, Engel, Darwin, Freud, Sartre, Rousseau, Nietzsche, Hegel, and all the
       others said. It was as though they were not just authors of books but were actually
       members of our village with whom we were having a dialogue. Some times we just joked
       about the absurdity of it all by telling stories.” (Exhibit “B,” at 29)

                      Young Sheikh

       In 1984, at the age of 14, Yassin returned to his village for the big holiday of Eed, but

there was no one to lead prayers at the mosque. Yassin’s father was in despair, saying that his

father’s (the famous imam) last wish was that prayer would always take place 5 times a day at the

mosque. Yassin’s father rode to another village looking for an imam, but the man he sought was

not there. He returned without hope, saying that the Eed prayer would have to be canceled, even

though people were coming from other villages to celebrate. Yassin said:

               “‘Daddy, you can do it”, I said.
       He looked at me like he wanted to slap me in the face.
       ‘Why not Daddy”, I said. “You’ve done it hundreds of times. You know it’
       ‘I’m not an Imam’
       ‘You don’t have to be! If you only know the prayers it will be sufficient’
       ‘So why don’t you do it’, he said to me, like he was making a joke.
       ‘If you let me…’
       Father looked at me in surprise like he did not know what to say, but our neighbor
       immediately said, ‘Yassin can do it. He can read the Quran. He knows it.’


                                               -16-
       ‘He’s just a kid’, said my father.
       ‘So what’?
       ‘People don’t like to pray behind a kid’.
       ‘So tell the people that if they don’t want to pray they don’t have to pray’
               Eventually my father agreed, and an announcement was made at the mosque that
       we would have Eed prayers.
       ***
               I went ahead with the sermon. I told the people that we must separate culture from
       religion. We do many things because we think it is part of our faith but in reality it is just
       a custom, and something totally against Islam. Our great Imam Shafee used to say, ‘What
       sky will shade me and what earth will hide me if I say something is a matter of faith, and
       the Prophet Mohammad never said anything about it’.
               Imam Shafee also said, ‘If my preaching is the opposite of the Prophet’s word,
       throw my word against the wall, and take the Prophets word to learn in school.’ It is easy
       enough to add many things to the faith which were never there to begin with. Religion
       should be simple, clear and easy. Let us keep it simple, clear, and easy and do not make it
       hard upon ourselves. God wants us to be thankful for what we have been given, helpful to
       our brothers and sisters, respectful to our neighbors; generous to the poor; merciful to the
       children; soft to our wives; clean of heart, and always truthful. God loves you. This is the
       faith that we should teach to our children and take for ourselves as well.” (Exhibit “B,” at
       30-31)

               Chapter 6

                       Freeing Chamchamal

       In 1991 after the first Gulf War, Saddam was forced to pull many of his troops out of

Kurdistan to deal with a Shiite uprising in the south. Yassin said:

                “The confidence of the remaining troops was shaken. You could just feel it in the
       air. They kept out of sight and did not try to intimidate people the way the used to. The
       peshmerga attacks became stronger and forced Saddam’s forces into the cities. For the
       first time we felt that Saddam’s troops were more afraid than we were.” (Exhibit “B,” at
       36)

       In early March, Yassin, living in the city of Chamchamal at the time, woke up one day

and told his brother, Mohsin, that he was planning to start a demonstration like one that had

occurred in the neighboring city of Rania. Mohsin tried to dissuade him, saying it was too

dangerous, but Yassin insisted, saying that the time was right. Yassin says:



                                                -17-
              “I went to get some of my friends. One of them was communist, one was Kurdish
       [nationalist], one was Iraqi nationalist, and I was religious. None of us knew anything
       about democracy except for the name, but we came together for one goal – to free
       Chamchamal from the government’s troops.” (Exhibit “B,” at 36-37)

       Yassin and his friends then tried to make the police and Army believe that they were part

of a peshmerga force that had come to liberate the City, rather than just students. Yassin went to

the Mosque and made an announcement on the loudspeaker:

              “‘In the name of God and on behalf of the Kurdish front I want to tell you that we,
       the peshmergas, are here on the streets and we want you to come out of your houses and
       come with us. It is the time to shout:
              ‘Death to dictators and their bloody regimes!
              Long live Freedom!
              Long live Kurdistan!
              Long live the Peshmergas!’

       ‘To our respected soldiers in the Army;
       To our beloved brothers in the Police Force;
       To our respected government workers.;
       It has been decided that whoever today helps the peshmergas or even sits at home
       and does not fight us, will not be asked about his past. The Past is over!! We are
       all Kurds now and we are all brothers and we are all Peshmergas.
       Come help us and prove today that you are a Kurd, and that you are a Peshmerga. You all
       like freedom and you don’t want another Halabja, or another ANFAL again! It has been
       decided. No revenge is going to take place in Kurdistan.
       Long live the Kurds! Long live Kurdistan! Long live Freedom!’” (Exhibit “B,” at 37-38)

       Yassin then described what happened next:

                “When I ended and went back to my friends, the City suddenly seemed to
       explode. Gun fire sounded everywhere! Kurdish nationalist songs were sung. People
       came out of their houses singing and clapping. I told my friends now we have hundreds
       of allies. Keep singing and firing in the air.
                A crowd tore down the statue of Saddam and surrounded the police station. It
       became bigger and bigger. After about 2 or 3 hours the government realized that we were
       not peshmerga – just students, and they brought in their special forces and began firing on
       us. My brother Mohsin was shot in the leg. Some people took him and hid him in a
       nearby home. We all ran away and hid ourselves. Mohsin and I stayed in a basement
       under ground for 40 hours and I took care of him because he lost so much blood. ...
                On March 9, after 40 hours of hiding, we tried again to rouse the City. This time
       the Peshmergas really came and in a few hours the City was completely free.


                                               -18-
               ‘Come out’, I told Mohsin. ‘No more hiding ourselves, no more fear. Now it is
       our City. We are free!’ He did not believe me. We took Mohsin to the hospital.
               The liberation of Chamcamal was the most wonderful moment in my life. It was
       hard to believe how fast a criminal bloody regime could collapse and disappear. There
       was a smile on every face. People everywhere congratulated us. Kurdish nationalist
       songs were sung so loudly the City was shaking. Now we can test freedom. Now we
       have our own city. Long live Freedom!!” (Exhibit “B,” at 38)

                       Fleeing Saddam

       Unfortunately, a few months later Saddam’s Army returned with a vengeance and

everyone in Chamchamal, and almost the whole of Kurdistan was forced to flee into the

mountains and seek refuge at the Iranian border. Yassin describes that desperate journey:

               “We walked continuously 15 hours a day for the next 9 days and nights most of
       the time in the rain, until we reached the Iranian border. It was the longest hardest
       journey I ever had to make. We were young and unencumbered with family or
       possessions. We passed thousands of families struggling slowly along the road, crying
       for help, begging for food, asking for directions or news of their relatives. We helped
       where we could, and shared what we had, but it was overwhelming and in the end we had
       to save ourselves from the advancing army because they would certainly have killed
       young men like ourselves first. It is almost impossible to describe the scenes of complete
       chaos and devastation. It was like the flood in New Orleans except that the planes flying
       overhead were shooting at us rather than trying to help, and we were climbing through
       wild mountains rather than struggling through a city. At one point we saw a woman in
       complete despair take her baby and throw it over a cliff. One of my friends climbed
       down the cliff to try and save the baby but he returned to say that it was dead.” (Exhibit
       “B, at 40)

       When they reached the top of the mountain and looked down to the river which was the

border with Iran, they were horrified to discover tens of thousands of refugees, unable to cross

into Iran, mostly just sitting in the mud. The river was in flood, there was no bridge, and the

Iranian police were not giving everyone permission to cross anyway. Yassin said:

              “Fortunately, the people on the Iranian side of the river were Kurds and they
       responded to our misery. They managed to throw a rope across the river and with it, we
       were able to pull bags of food, and sheltering material over the water from the Iranian
       side. Slowly a series of shanty towns and tent cities sprang up all along the border as
       people tried to build shelters from the rain and construct places where they could cook


                                                -19-
          food. The whole border was like this but we could only see our small area, where we
          would have starved, but for the compassion of the Kurds on the Iranian side.” (Exhibit
          “B,” at 40)

          After about two weeks Yassin’s group was given permission to cross into Iran, and they

remained there for many weeks until it was safe to return. Yassin described reuniting with his

family:

                  “Eventually we heard that our families were in Mariwan, Iran. When we arrived
          in Mariwan we were told that they had now gone back to Penjaween on the Iraqi side of
          the border. In Penjaween, I finally found my brother Mohsin. Everyone was afraid that I
          had died defending the City of Chamchamal and they were very glad to see me back.
          Most of the rest of the family was safe but nobody knew what happened to my Dad or my
          sister. We stayed in Penjaween until we were sure that the UN would keep Saddam’s
          forces south of the 36 parallel (the no fly zone). After that we returned to find that our
          sister was safe but father had died.” (Exhibit “B,” at 41)

                         Kurdistan in Ruins

          When Yassin and his family returned to Chamchamal, much had been destroyed but they

were still very hopeful at first because Saddam was finally really gone. They began efforts to

rebuild but before long the different Kurdish parties began fighting among themselves and

everything ground to a halt. Yassin describes that time:

                   “When we returned home we found much of Kurdistan in ruins. But Kurdish
          political parties moved in to fill the governmental vacuum left by Saddam’s departure,
          and it appeared that we were finally going to be ruled by our own people – Kurdistan
          would be self governing. We were all so happy that everybody began to help each other
          to rebuild the country. ...
                   In Chamchamal a group of us, headed by Mamost Nori Rahim, decided to help
          reopen the schools. We had to do it quickly before the teachers became discouraged and
          left to find jobs somewhere else. 5 teachers, one Imam, Gareeb, and I worked with
          hundreds of student volunteers to collect enough money from the citizens to repair the
          broken windows and equipment in the schools. We went door to door, store to store, to
          ask for donations and materials so we could make repairs and actually start to pay the
          teachers, if not a salary, at least their expenses. We did a great job. Within a relatively
          short time 80% of the schools were reopened and most of the teacher came back
          voluntarily and were willing to work without salary for just their expenses.
                   Elections were held to select a new Kurdish government and two parties emerged


                                                  -20-
         as the dominant political organizations – the KDP and the PUK. But instead of working
         together to rebuild the country, the two parties began to disagree and finally started
         fighting. Everything collapsed. All our sacrifices for the last 50 years seemed to be in
         vain. Instead of rebuilding from Halabja and ANFAL, instead of living together in
         freedom, Kurds began to kill Kurds once again. As soon as we showed our weakness, our
         neighbors moved to take advantage of it. The Iraqi government withdrew all government
         services and put a complete embargo on Kurdistan. Iran began to fund a Kurdish
         opposition party. Turkey began to fund another Kurdish opposition party. Each Kurdish
         party fought with the other to benefit the interests of Iran and Turkey. Money quickly ran
         out. Many schools closed because there were no funds to pay the teachers. The Courts
         and legal process came to a halt. The rule of the gun returned. Hospitals and post offices
         closed. Electricity stopped because no salary was paid to the workers at the power plant.
         Militias funded by different political parties fought so intently that some people began to
         wish that Saddam would return to restore order – at least with Saddam we had food, fuel,
         schools, electricity. Now we had nothing – not even freedom.
                 More and more people began to see that there was no future in education. Most
         educated people were jobless and poor. Political parties spent their money on their
         militias, not on schools or hospitals. Children had to work instead of going to school.
         Students began to leave school, take up guns and fight with their party’s militia. Young
         people were just waiting for the chance to escape Kurdistan and go to Europe or America.
         It was hard to stop the people from leaving. There was no sign that the future would
         improve. I used to argue all the time with people about this situation. I said, “It is
         because our parents are illiterate. If we do not study, our children’s lives will never get
         better.” They would respond, “Who cares about the future. We just want enough bread
         to keep us alive today”. Really I did not have a good response to that.
                 After I came to America, I saw a bumper sticker that said, “If you think education
         is expensive, try ignorance”. It really caught my attention and I preached about that at
         Friday prayer. I said that the Muslims are paying for 800 years of ignorance. It is costing
         us our freedom and dignity among the nations of the world, but even worse, it is costing
         us hundreds of thousands of lives. We have to understand that and educate our children.
         If we fail, our children will not even have the future that we wanted and were denied.”
         (Exhibit “B,” at 41-42)

         At first Yassin tried to dissuade people from leaving, but there just seemed to be no future

in Kurdistan under the circumstances. Yassin himself worked in Sulymania as a porter to raise

money to travel to Syria to try to fulfil his dream of a college education. The book ends at that

point.

         In approximately 1994 Yassin Aref married his wife, Zuhur, and the couple decided that

they had no choice but to leave Kurdistan and seek a future elsewhere. They moved to Syria


                                                 -21-
where they were granted refugee status under a UN program. Yassin worked as a gardener and

caretaker for a Syrian businessman, and he and Zuhur began raising their family there. Eventually

he had to leave that job because his boss’ wife tried to force Zuhur to work for her. After a long

difficult job search, Yassin was hired at the IMK Office in Damascus, where he worked for 10-11

months, until they family was told they could come to the United States in 1999. The family

arrived in Albany, New York in October, 1999, shortly after their third child, Kocher, was born.




                                                                        Photo of
                                                                        Yassin from
                                                                        1998 or early
                                                                        1999, taken in
                                                                        Syria at the
                                                                        estate where
                                                                        he was
                                                                        working as a
                                                                        gardener and
                                                                        caretaker.




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New Years Letter

       After the conviction, many people were upset and began writing to Yassin and trying to

support him, as described below. Yassin wrote a New Years Letter from his jail cell to the people

who had been supporting him. When I first heard he had done this, I thought the letter would

relate to his case, and the efforts to help him. Instead, Yassin barely mentioned the case and

basically wrote a sermon, perhaps like those he used to give at the Friday prayers at the Mosque.

He discussed global warming, HIV and other problems, and asked people to follow the examples

of Moses, Jesus and Mohammed, and look at all of humanity as one family. He also asked that

same question which was the theme of his book: how shall I live. The letter is attached as Exhibit

“C” and a portion of it is quoted here:

               “...We need to look at all people as though they were our family. As the Prophet
       Mohammad said, people in this life can be compared with travelers on a ship in which
       some of the travelers took their places in the upper parts, and some on the bottom. When
       those on the bottom need water they will say to the people on the top, do you mind if we
       make a hole down here so we can get some water to drink. If the people on the top don’t
       stop them from acting foolishly, the ship will fill up with water and all will drown. Those
       on top need to draw water and pass it down to the people on the bottom so that all may be
       refreshed and saved.
              We must take responsibility as human beings to feel for those who are suffering,
       and to work for justice and peace in order to build our universe.
               We should feel compassion for anyone who dies from AIDS or HIV in Africa and
       work to see that medicine is made available in order to build our universe.
               We should feel concern for those who lost their houses and are refugees because
       of war or earthquakes or floods, and we should work to see that relief is provided in order
       to build our universe.
               We should help children who don’t have a chance to study and educate
       themselves and we should work to improve their future in order to build our universe
               All of this is exactly what Moses and Jesus and Mohammad were teaching about.
       If we do not care about this, and we do nothing about it, we must ask ourselves, ‘Who are
       we? Why do we live? What does it mean to be a human being’?


                                               -23-
                We all live on one planet. Corruption anywhere will affect other parts of the world
       as well. Global warming and bird flu are just waiting to wake us up! Waiting for other
       people to provide leadership is useless. Each of us must say, ‘I will start. I will set an
       example. Let me remind people – let me warn them – so that if they will not do their duty
       at least I did mine. I will do it for myself, my children, my country, and my planet.’
                We all know that it is more fun to give than to receive. So we must be happy
       when we work for the benefit of others. We must be ready to sacrifice our time, be
       willing to stand for peace and justice, and have the courage to speak out. I believe that all
       of you are doing this. That is why I am really so thankful for all of you. I am thankful not
       because you are defending me and supporting my family, but because you are standing for
       justice and defending your nation’s values. You are standing for a better future and a
       peaceful planet....” (Exhibit “C,” at 1-2)

       Poetry

       Yassin has written many poems, both while he was in Kurdistan and Syria, and while he

has been in the United States. A few of his poems are interspersed in his book, and are included

in Exhibit “B,” at 4-5, 27 and 39. He also wrote a poem about Martin Luther King, which May

Saffar was invited to read at the Martin Luther King Day Commemoration in Saratoga on

January 15, 2007. This is the poem, as edited by Stephen Downs - it reflects Yassin’s vision of

the world:

       MARTIN LUTHER KING

       History is full of kings,
       Who sought power,
       And all that power brings -
       Palaces, food, women,
       Drinking and pleasure.

       I do not love these kings,
       And put my faith only
       In the king of heaven.
       While on earth, humans need
       A leader to serve - not enslave.

       Martin Luther King was different -
       He was a real king - a leader who


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       Served, and taught, and gave, and never
       Took favors from others,
       Or sought power for himself.

       He was a victim of racism,
       But still he kept faith
       In his vision that all people
       Are equal as brothers
       Having the same father.

       He had a dream to one day
       See them all gathered together
       Living free with dignity
       Supporting one another
       As equals under the law
       Now and forever!

       I love now two kings
       The great King in heaven
       And my brother Martin Luther
       Who struggled on earth to bring
       God’s justice and peace to all.

                               OTHER ASPECTS OF THE CASE

Lack of Proof and Troubling Nature of Sting Operation

       Without re-arguing the Rule 29/33 motions, it is submitted that despite the jury’s verdict,

there was a compelling lack of proof in this case. Moreover, it is always troubling when a sting

operation is used to target those who were not already violating any laws, especially when that

targeting occurs in a climate of great fear and is directed at a particularly vulnerable group.

Public Concern

       Throughout this case, but especially since the convictions, many local people, Muslims

and non-Muslims, were upset by various aspects of the case, including nature of the sting

operation, the fact that it was targeting a religious leader, the secret evidence, the language and

cultural barriers, etc. People who knew Yassin did not believe that he was guilty of these crimes,


                                                -25-
and many who came to know him, and know of him, felt the same way. In addition to the many

letters to the Court, included herein, there have been a variety of other ways in which people have

expressed themselves.

       Opinion Columns

       Two well-known local newspaper columnists, Carl Strock of the Daily Gazette, and Fred

LeBrun of the Times Union, wrote columns about the case during and after the trial. Those

columns are attached as Exhibit “D,” at 1-9. Fred LeBrun’s most recent column, published on

January 12, 2007, states:

                 “Someday we’ll look back on the present national paranoia over terrorism and the
       excesses done in its name with the same national embarrassment that Americans feel for
       Sen. Joe McCarthy’s communist witch hunts of the 1950s and our appalling treatment of
       Japanese-Americans during World War II. ...
                 ***
                 This case should never have seen a courtroom. Because once the mesmerizing
       ingredients were brought into a trial - the convoluted and selective translations, a glib
       informant avoiding 15 years in jail and the exploitation of our fears and anxieties over
       global terrorism by prosecutors, - the results were predictable. The trial had remarkably
       little to do with Aref and Hossain. This was not our federal court system’s finest hour, or
       the FBI’s either.
                 ...[T]hat still begs the question of why the feds pursued this prosecution with such
       zealousness, even after recognizing as they must have that Aref and Hossain never posed
       any threat to our national security.
                 It seems there was an ulterior motive, also reflective of our times. Sending a
       chilling message through the American immigrant Muslim community.
                 ***
                 Well, according to the Muslim Solidarity Committee, a local support group for
       Aref and Hossain, the government has been dazzlingly successful in spreading fear and
       distrust in the local immigrant Muslim community. However, that would be a fear of the
       FBI and our government.
                 Looking up from a warm seat somewhere, Senator Joe must be viewing all this
       with a knowing smile.” (Exhibit “D,” at 1-2)

       Carl Strock, who attended all or nearly all of the trial, has written several columns since

the verdict, and also has met both defendants and corresponded with Yassin Aref. His first



                                                -26-
column, published on October 12, 2006, stated:

                “I hang my head in shame. Yassin Aref and Mohammed Hossain, two local
       Muslim men who were minding their own business until the FBI came into their lives,
       have been convicted of supporting terrorism, of all things.
                Convicted by a jury of my peers. Not necessarily their peers, but my peers,
       meaning ordinary middle-class people from upstate New York, who sat patiently for 12
       days and listened to evidence that in my opinion was an embarrassment to our country, or
       should have been an embarrassment to our country, and then sat for another 3 ½ days and
       discussed that evidence before arriving at their verdict.
                ***
                The bizarre thing is that the two, far from being terrorists or terrorist
       sympathizers, are not even radicals within the Islamic universe. They are altogether
       moderate. ...
                ***
                ...Of course I wanted to talk to the jurors after they were discharged, to ask them
       what went through their heads, and I pursued them out through the parking garage next to
       the courthouse, down off Broadway in Albany, for that purpose, but they wouldn’t talk.
       They got in their cars and drive off, so I got no satisfaction in that department.
                ***
                What do you think will become of their wives and children? How will they
       support themselves? How will they live? Think about it. Think about yourself in that
       position. Living in a foreign land, trying to function in a foreign language, facing what
       they face.
                I have spent a little time with the two men, and they both strike me as decent -
       Aref, religious, thoughtful and scholarly, Hossain, self-effacing, unsophisticated, hard-
       working.
                They came to this country full of hopes, and they broke no laws until the FBI very
       elaborately led them to do so, if you think they broke laws at all, which I really don’t.
                ***
                I would like to say something to them, if by chance they get to read this in their
       isolation cells in the Rensselaer County Jail, where they await sentencing.
                Yassin and Mohammed: I hope you have the strength to endure what you now
       face. I suspect you do, that you will find the strength in your religious faith, a faith I do
       not share, but that is obviously a large part of your lives.
                The time may come when Congress will pass a resolution apologizing to you and
       others like you who got swept up in the fear that followed 9/11, just as it passed a
       resolution apologizing to the Japanese-Americans who got swept up in the fear that
       followed Pearl Harbor, but that will probably come too late to do you any practical good.
       Your lives will have inched away by then, and your children will be long grown.
                I hope they grow up able not to hate America, just as I hope you too are able not to
       hate America.
                ***
                I am very sorry for you and your families, and as presumptuous as it may be, I


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       apologize to you on behalf of my country.
              Good luck.” (Exhibit “D,” at 5-6)

       Carl Strock wrote another column, published on November 7, 2006, which discusses a

letter he received from Yassin - the column stated:

               “...I should mention, by the way, that I received a letter from Aref, the more
       intellectual of the two victims, in response to a column I wrote in which I said I hung my
       head in shame, apologized on behalf of my country, wished the two of them luck and
       mentioned in passing that I did not share their faith. ...
               I quote exactly, so please allow for Aref’s imperfect English, which is his third
       language” ‘You wrote the faith you are not sharing it with me but you are! Speaking the
       truth and supporting it. Care about your family and mercy on weak, sick and children.
       Hate unjust and tricky. Believe me that exactly my faith so I am going to share this faith
       with you. Only I will believe in God to it!’
               That’s the kind of guy he is. [A]nd that’s the kind of guy our government is going
       to put in prison for the rest of his life, leaving his family in the lurch.
               ***
               Meanwhile, thanks sincerely to the people who came together to form the Muslim
       Defense Committee and establish the Aref-Hossain Family Support Fund. ‘Keep your
       head high,’ Aref urged me in his letter, and I urge you the same.” (Exhibit “D,” at 6-7)

       Fox 23 Program

       On October 22, 2007, Fox 23 TV ran a 30 minutes interview with Dr. Shamshad Ahmad,

President of the Masjid-As-Salam Mosque. The first half of the show dealt with Dr. Ahmad’s

background, and that of the Mosque, and in the remainder he discussed this case, and his strong

belief that Yassin Aref was innocent, and would never support terrorism or violate any laws.

       Letters to the Editor

       Many people have written letters to the editor, and copies of some of those letters, to the

Times Union, are included in Exhibit “D,” at 8-10(A).

       Muslim Solidarity Committee

       After the verdict a local group of Muslims and non-Muslims formed the Muslim

Solidarity Committee (originally called the Muslim Defense Committee) in order to support


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Yassin Aref, Mohammed Hossain and their families, and also to support and get to know the

local Muslim community. Carl Strock interviewed Cathy Callan, one of the group’s founders,

who stated, “The big thing we’re trying to do is organize events on a regular basis to bring the

regular community in to meet and get to know the families at the mosque, so the mystique is kind

of eradicated. These are our neighbors.” (Exhibit “D,” at 6-7)

               Petition

       The Muslim Solidarity Committee (MSC) put together a petition on behalf of Yassin Aref

and Mohammed Hossain, which said:

               “We the undersigned believe that there are many serious questions about whether
       Yassin Aref and Mohammed Hossain were guilty of any of the offenses they were
       charged with. We especially note the language challenges presented to these men during
       the sting operation and the disputed translations of the recordings. We also believe that
       they jury may have been caught up in the current climate of fear of Muslims are the
       mention of ‘classified evidence.’ Under these circumstances they may have decided on a
       guilty verdict more out of a fear that the men might be guilty rather than a real belief that
       they were in fact guilty beyond a reasonable doubt.
               We call upon the judge to look very carefully at all of these issues when deciding
       whether to vacate any of the convictions or to grant a new trial.
               In addition, because both Mohammed Hossain and Yassin Aref are hard-working
       religious men devoted to their families, have never been in trouble with the law in the
       past, and are not terrorists, we also call upon the judge to exercise his utmost leniency
       when it comes to sentencing.” (Petition, which was made part of the record)

       On January 7, 2007 the Muslim Solidarity Committee delivered the petitions to the Court,

and also provided copies to this office and to the office of Kevin Luibrand, Esq. At that time

there were 445 signatures, which included 255 from an online petition, and 190 from paper

petitions (and which included a small handful of people who signed both or accidentally signed

the online petition twice). The petitions are included in the record of this case, and therefore are

not attached herein. The online-petitions - whose signatures were overwhelmingly local, though

they did include a few people from other cities and states - included a space for comments, and


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many people took advantage of that opportunity. Here are a just a couple of those comments:

       Morgan Desmond of Schenectady wrote, “Things have gone very, very wrong here.

Please decide in a way that restores the true meaning of American values.” (Online petition

signature No. 176)

       Suzanne M. Fromtling, also of Schenectady, wrote:

               “Dear Judge McAvoy - I write to you at this late date praying you’ll be as blessed
       to see the truth within this case as you have been time and time again in your position of
       trust and judicial ethics. ...From everything I know about this case, these men pose no
       threat or danger to anyone, and the injustice ... will only lead to more mistrust of America
       and our concept of justice... Please restore our faith in the American judicial system by
       exercising leniency in this case. ...” (Online petition signature No. 196)

        The paper petitions included the signatures of many non-Muslims, but also included page

after page of signatures by local Muslims, many of whom are members of the Masjid As-Salaam

Mosque, and who signed the petition when it was posted there. They also included a lot of people

who signed the petition when it was posted at the Little Italy Pizzeria, owned by Mohammed

Hossain and his wife.

       Since January 7, at least 182 more people have signed the petition, 93 online and 89 on

the paper petition. That makes a total of 627 people who have signed this petition since

approximately December, 2006.

               Family Fund

       Another project of the MSC was to set up the Aref/Hossain Family Fund, in order to raise

money to support the families of Yassin Aref and Mohammed Hossain. The two families include

ten children who range in age from 1 to 13. Thus far the Fund has raised over $10,000, from over

175 local people, which is being used for housing and other needs of the families.




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                  Community Events and Outreach

       The MSC has also organized several community events, many of which focused on

developing more understanding between local Muslims and non-Muslims. On December 3, 2006,

the MSC sponsored a potluck dinner and gathering at the Islamic Center of the Capital District,

which was attended by approximately 60 people. Then on January 2, 2007 Shamshad Ahmad,

President of the Masjid As-Salam Mosque, and an MSC member, organized a dinner to thank the

MSC for its efforts on behalf of the Mosque - that event was likewise well-attended.

       On January 11, 2007, several MSC members met with the Editorial Board of the Times

Union to discuss the case. MSC members have also spoken at various local community events,

and have staffed literature tables at many other community events. In addition, the MSC has a

website3 and has been holding vigils in front of the Courthouse every Tuesday and Thursday.

There are at least three public forums regarding the case which are being organized to take place

this month.

       Photo in Exhibit

       Last fall Schenectady resident Dave Capone, who had attended most of the trial in this

case (and who wrote a letter to the Court), participated in a photography workshop with Zoeann

Murphy of unseenamerica, a group which exhibits photographs of subjects which often go

unnoticed. Mr. Capone’s subject for the workshop was the families involved in this case. One of

his photographs, of the children of Yassin Aref (which is included herein at Page 5), was shown

as part of an unseenamerica Exhibit at City Hall in Schenectady, and also in a one-night-only

gallery tour in Albany. The Albany show was featured in a Times Union article, which led with a



       3
           www.nepajac.org/Aref&Hossain.htm

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description of the photo of the Aref children. (1/17/07 Times Union article, attached as Exhibit

“D,” at 11)

       Documentaries

       Two documentaries are also being made about this case. PBS is doing one as part of their

series entitled “America at the Crossroads,” which will air nationally in April, 2007. The other is

a longer term effort by Ellie Bernstein, a woman who has made two previous documentaries, and

who is moving to Albany to work on this project.

                              FACTORS UNDER 18 USC 3553(a)

       Section 3553(a) directs sentencing courts to consider (1) the nature and circumstances of

the offense and the history and characteristics of the defendant; (2) the need for the sentence

imposed to: (A) reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense;(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and (D) to provide the defendant

with needed educational or vocational training, medical care, or other correctional treatment in

the most effective manner; (3) the kinds of sentences available; (4) the sentencing range

established by the guidelines; (5) any pertinent policy statements issued by the Sentencing

Commission; (6) the need to avoid unwanted sentencing disparities among defendants with

similar records who have been found guilty of similar conduct; and (7) the need to provide

restitution to any victims of the offense.

       Section 3553(a) also requires courts to “impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph 2.” (Emphasis added). United

States v. Ministro-Tapia, 470 F.3d 137, 141 (2nd Cir. 2006); United States v. Castillo, 460 F.3d



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337, 354.

Nature and Circumstances of the Offense/ History and Characteristics of the Defendant.

      The History and Characteristics of the Defendant are described in the first 24 pages of this

Memorandum. Suffice to say that not only does Mr. Aref have absolutely no criminal history, he

has led an exemplary life, and, despite living through incredibly difficult circumstances in

Kurdistan, he is a devoted religious leader who is an inspiration to many, both Muslims and non-

Muslims.

        As to the nature and circumstances of the offense, it was a sting operation where there

was an attempt by the government to entice Mr. Aref into committing several offenses which

carry very high guidelines sentences. The jury acquitted Mr. Aref of 20 of the 30 counts with

which he was charged, convicting him only for the dates of July 1, 2004 and August 3, 2004 (as

well as the false statement charged in Count 30). Mr. Aref submits that he is innocent as to all

counts charged, and has been vigorously pursuing post-conviction remedies.

To Reflect the Seriousness of the Offense, to Promote Respect for the law, and to Provide

Just Punishment for the Offense.

        With regard to this factor, the Court should consider the more than 45 letters received in

support of Yassin Aref, which urge leniency, and many of which conclude that only great

leniency would promote respect for the law in this case. For example, Sarah Birn, Esq., who

attended the trial, writes:

                 “...The terrorists are weakened when our justice system works the way it is
        supposed to. Granting leniency in sentencing the Imam is just, and it is vital to show the
        integrity of our judicial system...” (Exhibit “A,” at 12)

        The entire 12 member Peace and Justice Commission of the Albany Roman Catholic



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Diocese write, “...We pray that Yassin Aref and Mohammed Hossain will be returned to their

families and the community, which will hold up for all to see the values of American justice...”

(Exhibit “A,” at 17)

To Afford Adequate Deterrence to Criminal Conduct.

       It is submitted that this factor is not a concern. Though Mr. Pericak has implied in public

statements that if people want to avoid being prosecuted in a sting operation, they have a duty to

inform the authorities whenever they hear anything suspicious, it is submitted that such an

alleged duty is contrary to the American system of justice.

To Protect the Public from Further Crimes of the Defendant.

       Again, based on everything argued herein, and on the letters received, it is submitted that

Mr. Aref never would have committed any crime had the government informant not entered his

life (and it is argued that he is innocent anyway), and never will in the future. In any event, it is

quite clear that if any conviction is upheld, and perhaps even if no conviction is upheld, Mr. Aref

will be deported.

To Provide the Defendant with Needed Educational or Vocational Training, Medical Care

or other Correctional Treatment in the Most Effective Manner.

       This is not relevant.

The Kinds of Sentences Available.

       After Booker, almost any sentence is available, but the question is what sentence is

reasonable. It is submitted that taking into account all the facts and circumstances, a sentence

much lower than the Guidelines range is the only reasonable and just result.




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The Sentencing Range Established by the Guidelines.

       The Guidelines range in this case is, due solely to the nature of the sting operation

engineered by the government, 360 months to life.

Any Pertinent Policy Statements Issued by the Sentencing Commission .

       It is submitted that no specific policy statements supports the imposition of a particular

sentence in this case.

The Need to Avoid Unwanted Sentencing Disparities Among Defendants with Similar

Records Who have been Found Guilty of Similar Conduct.

       This is not relevant, as there are few or no cases where the defendant in a terror sting

operation was acquitted of most of the charges, and then convicted of a small subset of them in a

very questionable manner.

The Need to Provide Restitution to any Victims of the Offense.

       This is not relevant.

Summary

       It is submitted that taking into account all the facts and circumstances discussed above,

the above factors support a non-guidelines sentence much lower than the guidelines range.

                                  GUIDELINES SENTENCE

       Although the sentencing guidelines are no longer mandatory, the Court is required to

consider them before imposing sentence. However, the Second Circuit has not held that the

Guidelines are presumptively reasonable, and has stated that the Guidelines do not fully

incorporate the factors contained in 18 USC 3553(a). See United States v. Fernandez, 443 F.3d

19 (2nd Cir. 2006).



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       As stated above and in the PSI, the Guidelines range in this case is, due solely to the

nature of the sting operation engineered by the government, 360 months to life. This does not

take into account any of the factors discussed above, nor does it take into account the fact that

Mr. Aref has absolutely no criminal history. (Because of the nature of the conviction, the

criminal history category is automatically elevated to VI..)

       While it is argued herein that a very lenient non-guidelines sentence is the only one which

would provide any justice in this case, there are also factors which support a downward

departure under the Guidelines.

       Combination of Factors

       The Commentary to U.S.S.G. section 5K2.0 notes that the sentencing commission hasn’t

foreclosed the possibility that a combination of factors which, although individually insufficient

to warrant a departure, would justify a departure when they remove a case from the “heartland”

cases covered by the guidelines. See Koon v. United States, 518 U.S. 81, 116 S. Ct. 2035 (1996).

       Some additional examples of downward departures based on a combination of factors

include the following cases within this, and other, circuits. United States v. Blake, 89 F. Supp. 2d

328 (E.D.N.Y. 2000) (here a 21 level departure was granted, based on a combination of factors);

United States v. Gamez, 1 F. Supp. 2d 176 (E.D.N.Y. 1998) (10 level departure based on a

combination of factors); United States v. Blackwell, 897 F. Supp. 586 (D.C. Cir 1995).

       There are several such factors herein, including the lack of criminal history, Mr. Aref’s

extraordinary family responsibilities (he is clearly needed to take care of his children as his wife,

Zuhur, is very traumatized and depressed), his role as an Imam, where he is also needed, his

history of hard work in low-paying jobs (such as cleaning toilets at Albany Medical Center), and



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his other achievements, such as his having obtained a college degree under circumstances when

most people would not have even tried. A very significant downward departure is supported by

those factors, and by the others discussed above.

                                          CONCLUSION

       In conclusion, it is submitted that this case is a difficult one, and raises a lot of troubling

issues, which should very carefully taken into consideration. These include the nature of the sting

operation, targeting two individuals who had never been in any trouble before, and who clearly

were not involved in any illegal activity at the time the informant entered their lives. In addition,

there were many thorny issues involving language, culture and religion, which probably confused

everyone involved, including the lawyers, the defendants, the witnesses, and the jury. Moreover,

the case occurred in a post-911 climate of great fear when many ordinary Americans had become

suspicious of Muslims. It is submitted that at some point, as stated by local newspaper

columnists Fred LeBrun and Carl Strock, who are quite familiar with the case and all the

evidence presented, history will recognize that this case never should have happened, and that the

two defendants were the victims of an unfortunate over-reaction to legitimate fears. The question

now is, how long will that take?

       Several people expressed these concerns eloquently in their letters to the Court. James

Fulmer, a local carpenter volunteering his time to work on the apartments of the Aref and

Hossain families, stated:

               “...I want [the families] to know that America is compassionate and conscientious.
       I’m afraid they’ve lost faith in these concepts as a result of the FBI sting against their
       fathers and husbands. It seems that in our country’s intense desire for security, these two
       men (and their families) have also become victims... Can we show the Muslim
       community and the world that we are not driven by fear, that we are motivated by the
       ideals that brought the families here?...” (Exhibit “A,” at 10-10[A])


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         Sarah Birn, a local attorney who attended the trial, stated:

                  “...The horrors of terrorism are not lost on me: my daughter was in NYC on 9/11
         and I appreciate the government’s burden and duty. I urge leniency because I heard no
         evidence of the Imam’s guilt of the conspiracies charged and no evidence that he could
         even sympathize with terrorism. The other shoe just never dropped. ... More importantly
         for sentencing purposes, trial testimony, the secretly recorded conversations and the
         Imam’s lectures in Kurdistan revealed the Imam as a sincerely devout, non-political
         person dedicated to performing his religious duties with honesty, integrity, and an
         understanding of the pastoral guidance needed by Muslims living in America...Our
         government created the crime for which the Imam and his family were torn apart. The
         jury found him not guilty of the charges based on the only which could have linked him to
         a terrorist plot. Proved cultural and linguistic misunderstandings in the case were only the
         tip of the iceberg in which language and customs barriers confused the Imam himself, the
         government and, most likely, the jury. ...That leaves the onus on the Court to grant the
         Imam the justice he deserved. ...” (Exhibit “A,” at 11-12)

         The 12 member Peace and Justice Commission of the Albany Roman Catholic Diocese

wrote:

                  “....We believe that the jury may have been caught up in the current climate of fear
         of Muslims and the mention of ‘classified evidence.’ Under these circumstances, the jury
         may have decided on a guilty verdict more out of a fear that the defendants might be
         guilty, rather than a real belief that they were guilty beyond a reasonable doubt. ..”
         (Exhibit “A,” at 17)

         Finally, Joe Pliss writes:

                 “...I do not have any personal relationship to Mr. Aref. However, the trial ... and
         circumstances of this affair have frightened me. From where I see things I’m very worried
         that as a community we don’t over-react to our fears... If there was a need to send a
         message to the people that we must be vigilant against subversive wooing, then I believe
         the arrest, the trial, the incarceration and depravation already inflicted have amply
         demonstrated this. A sentence that is excessive; a power that fails to demonstrate restraint
         or compassion; sends the message that as a society we are under siege and nearly out of
         control. This man is not a threat to society and I beg you not to make an example of him
         but rather to demonstrate the dignity and power of the state, though granting leniency. For
         my own sense of peace and order, I ask this as well...” (Exhibit “A,” at 33)

         Yassin Aref asks that the Court seriously consider his entire history and character, as well

as all the letters received in support of him, and the other material discussed herein, including the



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troubling nature of the case, and impose a truly just sentence.


Dated: January 29, 2007.

                                              Respectfully submitted,



                                              KINDLON SHANKS & ASSOCIATES


                                      By:
                                              S/TERENCE L. KINDLON
                                              Bar Roll No. 103142
                                              Attorney for Yassin Aref
                                              74 Chapel Street
                                              Albany, New York 12207
                                              Telephone: (518) 434-1493
                                              Fax: (518) 432-7806
                                              E-mail: TKindlon@aol.com

cc:    United States Attorney
       Yassin Aref
       Kevin Luibrand, Esq.




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